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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 PH LODGING TOMBALL, LLC, a Texas Limited
 Liability Company, on behalf of itself and a class of
 similarly situated entities,                             Case No. 4:21-cv-1803

                                  PLAINTIFFS,

 v.
                                                           JURY TRIAL DEMANDED

HOLIDAY HOSPITALITY FRANCHISING, LLC,
SIX CONTINENTS HOTELS, INC. d/b/a
INTERCONTINENTAL HOTELS GROUP and
IHG OWNERS ASSOCIATION, INC.

                               DEFENDANTS.

                                  CLASS ACTION COMPLAINT

       Plaintiff PH Lodging Tomball, LLC (“Plaintiff” or “PH Tomball”), individually and on

behalf of a class of similarly situated individuals and entities, by and through undersigned counsel,

hereby demands judgment against defendants Holiday Hospitality Franchising, LLC, Six

Continents Hotels, Inc. d/b/a Intercontinental Hotels Group and IHG Owners Association, Inc. In

support thereof, Plaintiff states as follows:

                                          INTRODUCTION

       1.      Defendant Six Continents Hotels, Inc. (“SCH”) is the world’s largest hotel company

by room count, and does business under the name InterContinental Hotels Group (“IHG”) (SCH

and IHG may hereinafter be collectively referred to as “IHG”).

       2.      IHG operates approximately some 5,600 hotels across more than 15 brands. IHG

takes an asset-light approach, owning, franchising and/or managing hotels for third parties, with

Holiday Inn as its mainstay chain, under such brands as Holiday Inn, Holiday Inn Express and

Holiday Inn Resorts, each bearing the identification as “an IHG Hotel.”

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       3.       IHG also owns, manages and/or franchises other hotel brands such as Crowne

Plaza, InterContinental, Staybridge Suites, Candlewood Suites, Hotel Indigo, Regent and Kimpton.

       4.       IHG’s Holiday Inn brands account for approximately 70% of its total hotel count.

       5.       IHG owns Defendant Holiday Hospitality Franchising, LLC (“HHF”), its affiliate

which offers and sells Holiday Inn brand franchises including, but not limited to, Holiday Inn,

Holiday Inn Express and Holiday Inn Resort.

       6.       Defendant IHG owns and acts through its franchising affiliate, HHF and its agent

and representative IHG Owners Association (“IHGOA”).

       7.       HHF enters into franchise agreements titled “Holiday Hospitality Franchising, LLC

License Agreement(s)” with its franchisees.

       8.       Plaintiff PH LODGING TOMBALL, LLC (“PH Tomball”) is a franchisee that

owns and operates one or more hotels that bear a HHF brand mark pursuant to an HHF license

agreement.

       9.       Many HHF Franchisees are individuals, single member limited liability companies

or closely held corporations who are either immigrants or second-generation Americans of Indian

or other South Asian origin. Plaintiff is one such HHF franchisee.

       10.      The hotel franchise industry holds particular appeal and attraction to these HHF

Franchisees by providing investment and traditional family business ownership opportunities

which they can build through diligence, dedication and hard work.

       11.      This class action lawsuit seeks to put an end to IHG/HHF’s unlawful, abusive,

fraudulent, anticompetitive and unconscionable practices designed solely to benefit and to enrich

IHG/HHF’s shareholders and to do so at the expense and to the detriment of Plaintiff and the class

members, namely, similarly situated franchisees.

       12.      As detailed below, Defendants have and continue to engage in unconscionable,

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fraudulent, unlawful, anticompetitive and discriminatory business practices in connection with the

IHG Hotel franchise system.

           13.      At the heart of IHG/HHF’s unlawful scheme is its requirement that its franchisees

use certain mandated vendors and suppliers for the purchase of goods and services necessary to run

a hotel.

           14.      IHG/HHF’s forced exclusive use of certain chosen vendors and suppliers imposes

well above-market procurement costs on franchisees which include, but are not limited to, those

associated with its onerous and exorbitant Property Improvement Plan (“PIP”).

           15.      Under the guise of improving the franchisees’ hotels to maintain “brand standards,”

IHG/HHF forces its franchisees to frequently undertake expensive renovations, remodeling and

construction as part of the PIP, and in so doing manipulates and shortens the warranty periods on

mandated products the franchisees must purchase, then disingenuously uses this to justify PIP

requirements as purportedly necessary to meet “brand standards” when, in reality, IHG/HHF’s sole

purpose is to maximize its kickbacks and unjustifiably run up costs on their franchisees in bad

faith.

           16.      IHG/HHF deceitfully represent to their franchisees that they select vendors with the

laudable goal of using the franchisees’ collective bargaining power to secure a group discount and

to ensure adequate quality and supply of products and services, and refer to these procurement

programs as the “IHG Marketplace.”

           17.      In fact, however, IHG/HHF’s primary goal in negotiating with vendors has little to

nothing to do with the best interests of franchisees but rather is to secure the largest possible

kickback for itself, which vendors finance through the above-market rates charged to franchisees

in collusion with IHG/HHF.

           18.      Furthermore, the above-market priced products which IHG/HHF forces franchisees

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to purchase through the IHG Marketplace and related programs is overwhelmingly of inferior

quality.

          19.      These low-quality “IHG Approved” purchases are forced upon franchisees and

disingenuously characterized as meeting supposed brand standards of quality, when in truth the

sole purpose is to maximize kickbacks for IHG/HHF and unjustifiably increase costs on their

franchisees in bad faith.

          20.      Upon information and good faith belief, IHG/HHF have each netted tens of millions

of ill-gotten dollars from this fraudulent kickback scheme.

          21.      Additionally, IHG/HHF engages in other oppressive, bad-faith, fraudulent and

unconscionable conduct. For instance, IHG holds itself out to the public as offering discounts,

travel benefits and other perks to repeat guests through its IHG Rewards Club loyalty program.

IHG has a mobile booking app as well as cloud-based hotel solutions which it represents as driving

demand for its hotel owners and which ostensibly allow hotel owners to reach potential guests at a

lower cost. Hotel guests can accumulate points per dollars spent which can be redeemed at IHG

hotels.

          22.      When those points are then redeemed at a hotel, however, only a small fraction of

the value is reimbursed to franchisees while (beginning in 2018) IHG/HHF has required that

Plaintiff and franchisees (and not IHG/HHF) also pay sales tax on the full value of the product or

service obtained by hotel guests.

          23.      Furthermore, in instances where hotel guests’ accumulated reward points from stays

at Plaintiff’s (or other franchisees’) hotel expire, the points never return to Plaintiff or to any

source-of-origin franchisees.

          24.      IHG/HHF also routinely introduces new marketing programs under the guise of

providing franchisees with a “choice” as to whether they should participate or not. In reality,

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however, all such marketing programs are forced upon the franchisees insofar as any and all

decisions to “opt out” are met with vindictive, punitive and retaliatory action by IHG/HHF.

          25.      These programs are in addition to all marketing fees contracted and paid for by the

franchisees, and serve as an abusive way to impose additional fees and fines for the sole profit and

benefit of IHG/HHF, and to do so without disclosure or agreement by deceit, implied threat and

actual retribution rendering franchisees’ supposed “opt-out” choice completely illusory.

          26.      Furthermore, although the facts set forth herein predominantly existed before

March, 2020 and continuously thereafter, IHG/HHF has ceased all of its marketing since the

imposition of Covid-19 related restrictions in early 2020. Despite the fact that IHG/HHF has not

been engaged in any marketing activities or efforts for approximately a year, it continues to require

franchisees to pay significant marketing related fees for which they receive absolutely nothing in

return.

          27.      Moreover, IHG/HHF routinely assesses additional fees and penalties against

franchisees which are not authorized by the applicable License Agreement, and are fundamentally

excessive and unfair.        These fees and penalties are disingenuously assessed as a means to

intimidate franchisees, including to serve as bad faith bases for default notices and threatened

termination, as well as to harm the economic viability, profitability and creditworthiness of

franchisees.

          28.      For instance, IHG/HHF routinely requires its franchisees to pay multiple fees for

the same product or service. And, IHG/HHF routinely asseses additional fees against franchisees

for services and products that IHG/HHF either does not, in fact, provide or provides at an inferior

quality.

          29.      IHG/HHF imposes requirements on its franchisees to undergo hotel inspections any

time there are conversions, construction, changes in ownership, brand changes or re-licensing. In

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conjunction with IHG/HHF’s unilaterally imposed mandates for any such hotel changes, IHG/HHF

requires its franchisees to pay for the inspections, IHG/HHF’s written reports and any re-

evaluations and re-inspections that IHG/HHF alone deems necessary. In practice, IHG/HHF stages

these inspections to maximize criticism of franchisee Hotels as a pretext for imposing additional

inspections, reports and fines, all deliberately interposed for IHG/HHF’s own financial benefit and

to the detriment of franchisees.

       30.      IHG/HHF arbitrarily imposes rules and regulations and/or unreasonably interprets

rules and regulations in order to justify assessing monetary penalties against franchisees.

       31.      Quite egregiously, IHG/HHF routinely discriminates, demeans, and is both

explicitly and implicitly hostile and bigoted towards Plaintiff, and towards Indian-American and

South Asian-American franchisees.

       32.      IHG/HHF corrupts its Owners Association, the IHGOA, the function of which

IHG/HHF represents in the License Agreement “to function in a manner consistent with the best

interests of all persons using the System” but instead is staffed almost exclusively with IHG/HHF

representatives to the exclusion of franchisees and operates to undermine and to harm the very

hotel owners and franchisees it purports to represent.

       33.      HHF’s actions are unconscionable and outrageous, and have pushed franchisees to

the financial breaking point.

       34.      This class action lawsuit seeks monetary damages, injunctive and other relief for:

(a) Count I – breach of contract; (b) Count II – breach of fiduciary duty; (c) Count III – declaratory

judgment; (d) Count IV – recovery for violations of the Sherman Act, 15 U.S.C. § 1 and (e) Count

V – an accounting.

                                   JURISDICTION AND VENUE

       35.      This Court has subject matter jurisdiction over the federal law claims raised in this

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class action lawsuit pursuant to pursuant to 28 U.S.C. § 1331 as Plaintiff alleges violations of a

federal statute, the Sherman Act, 15 U.S.C. § 1 (Count V).

       36.      This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005, Pub. L. No. 109-2 Stat. 4 (“CAFA”), which, inter alia, amends 28

U.S.C. § 1332, at new subsection (d), conferring federal jurisdiction over class actions where, as

here: (a) there are 100 or more members in the proposed class; (b) some members of the proposed

Class have a different citizenship from Defendants and (c) the claims of the proposed class

members exceed the sum or value of five million dollars ($5,000,000) in aggregate. See 28 U.S.C.

§ 1332(d)(2) & (6).

       37.      This Court has subject matter jurisdiction over the state law claims raised in this

action pursuant to 28 U.S.C. § 1367, because they arise from the same set of operative facts as the

federal law claims.

       38.      This Court has personal jurisdiction over Defendants IHG, HHF and IHGOA

because all Defendants regularly transact business within the geographic boundaries of this District

by, inter alia, entering into franchising agreements with franchisees and engaging in routine,

systematic and continuous contacts with persons in this District.

       39.       Venue is proper in this judicial district pursuant to 18 U.S.C. §§ 1965(a), 1965(b),

because Defendants HHF, IHG and IHGOA have agent(s) in, and regularly transact their business

affairs in, this District by, inter alia, entering into franchising agreements with franchisees,

because said Defendants regularly transact business within the geographic boundaries of this

District by, inter alia¸ collecting membership fees from franchisees, and, in the alternative,

because the ends of justice require said Defendants to be summoned to this District.

       40.       The business conducted by Plaintiff PH LODGING TOMBALL, LLC is pursuant

to a license agreement with HHF, and Plaintiff’s business location is at 14055 Park Drive in
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Tomball, Texas 77377.

                                            PARTIES

       41.       Plaintiff PH LODGING TOMBALL, LLC, a Texas Limited Liability Company,

operates a HHF franchise hotel, specifically a Holiday Inn Express & Suites hotel in Tomball, Texas.

       42.       Defendant HHF is a Delaware-registered limited liability company with its

principal place of business located at Three Ravinia Drive, Suite 100, Atlanta, Georgia 30346.

       43.       Defendant IHG is a Delaware-registered corporation with its principal place of

business is Three Ravinia Drive, Suite 100 Atlanta, Georgia 30346.

       44.       Defendant IHGOA is a Georgia non-profit corporation with its principal place of

business is Three Ravinia Drive, Suite 100 Atlanta, Georgia 30346.

                            COMMON FACTUAL ALLEGATIONS

The Parties’ Relationship

       45.       IHG has been in operation since 2003.

       46.       Throughout its history, IHG has created and acquired hotel brands, including, but

not limited to, Holiday Inn, Holiday Inn Express and Holiday Inn Resort.

       47.       IHG’s franchising affiliate, HHF, licenses the right to use these hotel brand marks

to franchisees, including Plaintiff, by entering into franchise agreements with them, which in many

cases are referred to as “License Agreements.”

       48.       IHG owns HHF and has developed relationships with various vendors and

suppliers to IHG/HHF franchisees.

       49.       By virtue of its ownership of HHF and control over the IHG Marketplace, IHG is

an intended third-party beneficiary of the License Agreements.

       50.       In connection with the License Agreements, HHF uses its superior bargaining

power to coerce the franchisees into accepting onerous, unequal and unconscionable terms in its
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License Agreements.

       51.       These onerous terms put immense financial stress on franchisees, threatening their

economic viability.

       52.       HHF’s abuse of its position and unfair practices result in the imposition of

needless and costly fees, above-market costs for necessary supplies and other goods and results in

substantial impacts on HHF franchisees’ ability, who manage and operate their properties

commensurate with the highest standards, to operate their properties profitably.

       53.       Plaintiff PH LODGING TOMBALL, LLC is an HHF Franchisee pursuant to a

franchise agreement with HHF dated December 7, 2016 entitled “CHANGE OF OWNERSHIP

LICENSE AGREEMENT” (the “License Agreement,” a copy of which is attached hereto as

Exhibit A) for a Holiday Inn Express Hotel #16619, located at 14055 Park Drive in Tomball,

Texas 77377.

       54.       Pursuant to the subject License Agreement, Defendant HHF granted Plaintiff a

non-exclusive license to use Defendant’s System (as defined therein) only at the Hotel and in

accordance with the License Agreement. See License Agreement, §§1(b), 2.

Vendor Mandates and Kickbacks – the IHG Marketplace Programs

       55.       A particular manner by which IHG/HHF undermines the viability and profitability

of its franchisees is by mandating Plaintiff and HHF franchisees utilize only HHF approved third-

party vendors, the purpose of which is for Defendants to derive a significant financial benefit at the

direct expense and to the financial detriment of the HHF franchisees.

       56.      IHG/HHF’s fraudulent and unconscionable scheme cannot operate without

franchisees paying excessive, above-market rates for the goods and services necessary to run a

hotel, including, but not limited to:

                (a) its computerized credit card processing system, Secure Payment Solution

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                  (“SPS”) which all Hotels are required to use;

              (b) high speed guest internet services, designated workstations and multi-function

                  printers in Hotel business centers (“Public Access Computers”), and a designed

                  communication service referred to as “SCH Merlin”;

              (c) HHF’s approved Keycard System;

              (d) televisions and in-room entertainment compatible with SCH Studio;

              (e) an alert system that enables employees to notify hotel management of an

                  emergency (“Employee Safety Devices”);

              (f) equipment, software, and services for property-level technology and

                  telecommunications systems;

              (g) equipment associated with the Defendants’ gift card program;

              (h) mandated food and beverage programs;

              (i) furniture, furnishing, linens, food products, utensils, and goods for guests’

                  consumption and

              (j) additional advertising materials, products, services, equipment or supplies, from

                  which IHG/HHF profits.

       57.    The above-market rate pricing charged by vendors and paid by Plaintiff and the

franchisees provides the money necessary for those vendors to pay IHG/HHF’s unreasonable and

unconscionable kickbacks.

       58.    IHG/HHF knowingly and willfully engage in conduct that ensures franchisees pay

above-market prices for goods and services necessary in conjunction with operation of the hotels.

       59.      IHG/HHF requires that Plaintiff and HHF Franchisees strictly comply with its

requirements for the types of services and products that may be used, promoted or offered at the

hotel, and comply with all of HHF’s “standards and specifications for goods and services used in

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the operation of the Hotel and other reasonable requirements to protect the System and the hotel

from unreliable sources of supply.” See License Agreement, § 3.A.(6).

        60.      If IHG/HHF requires HHF franchisees to purchase equipment, furnishings,

supplies or other products for the hotel from a designated or approved supplier or service provider,

whether pursuant to the License Agreement, Standards, or any communication from HHF, then

HHF franchisees must purchase the mandated product(s) from mandated vendors and cannot under

any circumstances deviate from those vendor mandates without prior approval from HHF.

        61.      Defendants IHG and HHF run a program under the guise of being voluntary and

which they falsely represent as delivering value and lower cost purchasing opportunities to HHF

franchisees.

        62.      Defendants refer to these procurement programs as the “IHG Marketplace.”

        63.      Defendant IHG describes the IHG Marketplace as:

               an easy-to-use ordering platform that allows owners to take
               advantage of the buying power of IHG for operational and service
               needs. This not-for-profit platform is available to all IHG-branded
               hotels and gives access to globally negotiated contracts and optimal
               pricing from more than 200 suppliers and services, resulting in
               significant savings and value.1

        64.      Defendant IHG further represents that the IHG Marketplace is “[d]esigned to cut

costs and streamline the hotel procurement process, the program provides owners with solutions to

achieve unparalleled cost savings and efficiency…Rebates and discounts are passed directly to

you, you earned them, you keep them!”2

        65.      Nothing could be further from the truth.

        66.      In reality, IHG Marketplace operates on a cost recovery basis with fees for both

1
    https://development.ihg.com/en/americas/home/develop-a-hotel/support-for-owners (last visited
2
    https://www.ihgmarketplace.net/marketplace/home.php (last visited May 24, 2021).


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procurement and technical ordering transaction services included in the supplier invoiced price.

       67.       HHF franchisees purchase goods and services directly from suppliers at prices

negotiated by HHF and/or IHG.

       68.       These prices are frequently above-market prices which do not permit the HHF

franchisees to seek competitive pricing for their own benefit.

       69.       Rather, these inflated prices allow for rebates that go to IHG and HHF directly by

suppliers which generally range from approximately 1-5% of the amount of the invoice price for

the goods and services purchased by franchisees.

       70.       These kickbacks to IHG and HHF are the primary—if not the sole—reason HHF

franchisees are forced to use expensive vendors and suppliers not of their own choosing at supra-

competitive pricing.

       71.       Some primary examples of the IHG Marketplace sourced vendor mandates involve

credit card processing and high speed internet agreements, with Defendants requiring franchisees

to execute these infrastructure related agreements.

       72.       Although IHG/HHF represent that franchisees have a choice between vendors, it is

usually only between no more than three vendors hand-picked by Defendants from whom they

obtain significant rebates.

       73.       Although franchisees are able to secure far more reasonable rates for, for example,

credit card processing from alternate sources, IHG/HHF do not permit franchisees to do so on the

open market and instead require franchisees to pay the higher rates of Defendants’ selected

vendors.

       74.       This is similarly true in the case of hotel internet services which IHG/HHF does

not permit franchisees to purchase on the open market and instead requires franchisees, in most

instances, to pay more than double the price for lower speeds than what franchisees could purchase

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independently from the same or alternate sources.

       75.      This mandated lack of choice invariably increases franchisees’ costs and expenses,

and benefits only IHG/HHF in the form of kickbacks.

       76.      The costs charged to franchisees in the IHG/HHF procurement programs such as

the IHG Marketplace are almost always higher than if the same product or service were purchased

by an independent hotel outside of the HHF System.

       77.      Defendants frequently use the pretext that the vendor requirements imposed on

franchisees are necessary for standardization or—more curiously—for security. In the case of

security, however, IHG has recently been the victim of a significant data hack. This is but one

factor illuminating that Defendants’ assertion of security, for example, is merely a pretext to

charge franchisees higher vendor rates in order for IHG and HHF to profit from kickbacks.

       78.      In fact, many products and services that HHF franchisees are required to obtain

based on Defendants’ vendor mandates are at an excessive cost but inferior quality.

Franchisee Fees & the Property Improvement Plan

       79.      As a prerequisite to becoming an HHF Franchisee, IHG/HHF charges (and

Plaintiff actually paid) an initial application fee of $500 per guest room (sometimes referred to as a

“key”) and up to $50,000 simply for the privilege of submitting an application for an HHF

franchise or license. This application fee applies for new development, conversion, change of

ownership or re-licensing.

       80.      Only then does IHG/HHF determine whether it will approve the application for a

license, and in the case of unapproved applications, IHG/HHF retains $15,000 which is forfeited

by franchise/license applicants for absolutely no return benefit.

       81.      If IHG/HHF does approve an application, IHG/HHF still has the sole discretion to

revoke its approval thereafter and to retain an applicant’s entire application fee and to deem it

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“non-refundable,” again providing applicants with no benefit in return for IHG/HHF taking an

amount up to $50,000 and leaving applicants without recourse.

       82.      IHG/HHF also maintains what it calls its “Property Improvement Plan” (PIP).

       83.      Before any HHF franchisee submits an application for conversion, change of

ownership, brand change or re-licensing, franchisees must arrange for HHF to conduct an

inspection of the Hotel so that IHG/HHF can prepare written specifications for the upgrading,

construction and furnishing of the Hotel in accordance with its HHF’s defined “Standards.”

       84.      Under the PIP, HHF franchisees must pay a non-refundable $6,500 fee to have

their Hotel inspected and for preparation of a PIP report. In the case of conversion hotels,

IHG/HHF will not authorize reopening unless and until it has determined that all PIP requirements

have been completed, including the submission of plans before the start of construction in

accordance with the dates specific in the License Agreement.

       85.      As part of PIP, IHG/HHF charges up to an additional $5,000 for each re-

evaluation and re-inspection it may deem necessary in the event any hotel fails its opening

inspection.   IHG/HHF frequently uses this, and imposes further fines, as a means to enrich

themselves to the detriment of the franchisees.

       86.      IHG/HHF neither requires nor imposes its inspections, re-inspections, re-

evaluations and/or written reports in good faith. To the contrary, IHG/HHF uses these inspections

as a pretext to generate the aforesaid fees and fines, and prepares disingenuously negative reports

in order to generate revenue for itself in the form of fines and required re-inspections, reports and

impact studies, all intended to harm the economic viability and creditworthiness of its franchisees.

       87.      Franchisee objections to this bad faith process are disregarded and dismissed, and

met with derision, threats, intimidation and retaliation.

       88.      The license that IHG/HHF grants to Plaintiff and HHF franchisees to “use the

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System only at the Hotel, but only in accordance with this License” (and during the License Term)

defines the System broadly and with significant open-ended discretion for HHF.

       89.     This discretion allows IHG/HHF to put a stranglehold on franchisees and broadly

impose onerous costs and obligations on franchisees:

              The System is composed of all elements which are designed to
              identify Holiday Inn, Holiday Inn Express and Holiday Inn Resort
              branded hotels to the consuming public or are designed to be
              associated with those hotels or to contribute to such identification
              or association and all elements which identify or reflect the
              quality standards and business practices of such hotels, all as
              specified in this License or as designated from time to time by
              Licensor. The System at present includes, but is not limited to, the
              service marks Holiday Inn®, Holiday Inn Express®, Holiday Inn
              Express® & Suites, Holiday Inn® & Suites and Holiday Inn®
              Resort, (as appropriate to the specific hotel operation to which
              it    pertains), Holidex® and the other Marks (as defined in
              paragraph 7.B below), and intellectual property rights made
              available to licensees of the System by reason of a license;
              all rights to domain names and other identifications or
              elements used in electronic commerce as may be designated
              from time to time by Licensor in accordance with Licensor's
              specifications to be part of the System; access to a reservation
              service operated in accordance with specifications established by
              Licensor from time to time; distribution of advertising, publicity
              and    other     marketing   programs and materials;   architectural
              drawings       and architectural works; the furnishing of training
              programs and materials; confidential or proprietary information
              standards, specifications and policies for construction, furnishing,
              operation, appearance and service of the Hotel, and other
              requirements as stated or referred to in this License and from time

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               to time in Licensor's brand standards for System hotels (the
               "Standards") or in other communications to Licensee; and
               programs    for inspecting the Hotel, measuring and assessing
               service, quality and consumer     opinion and    consulting   with
               Licensee.     Licensor may add elements to the System or
               modify, alter or delete elements of the System in its sole judgment
               from time to time.
 License Agreement, §1(B) (emphasis added).

         90.    There is no limitation on the extent to which HHF can alter, modify or revise its

“Standards” or impose costs and obligations on HHF franchisees, which it does not disclose and

have never been the subject of any arms’ length agreement. See id., §§1(B), 4(E), 5.

         91.    The IHG/HHF PIPs are designed with substandard products and designs,

purposefully limit vendor choices for HHF franchisees and impose above-market procurement

costs.

         92.    For example, most furniture items that IHG/HHF mandates its franchisees

purchase from required vendors is of such inferior quality that they break, disassemble, and

damage upon initial delivery and/or assembly and are rendered unusable.

         93.    IHG/HHF then forces additional costs upon its franchisees to replace the mandated

but damaged products, and also the costs to clean the resultant broken parts strewn and littered in

the franchisees’ hotels.

         94.    Although the IHG Owners Association (IHGOA, defined below) purports to

“consider and discuss, and make recommendations relating to the operation” of franchisees’ hotels,

and “function in a manner consistent with the best interests of all persons using the System”,

IHG/HHF, and the IHGOA routinely dismiss, ridicule, and disregard franchisee concerns about its

inferior mandated products and exorbitant costs. (See License Agreement, §6(A)-(B))

         95.    IHG/HHF forces its franchisees to repeat these PIP multimillion dollar projects
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every 6-8 years irrespective of the actual condition of hotels purely to generate fees and vendor

kickbacks for themselves to the detriment of Plaintiff and HHF franchisees.

       96.      As part of PIP, IHG/HHF deliberately scale back and manipulate standard

manufacturer furniture warranties as another means purely to fit their PIP cycles, cause harm to the

franchisees and, ultimately, raise prices for hotel customers.

       97.      As such, HHF has imposed and continues to impose onerous PIP terms on Plaintiff

and HHF franchisees which, in the sole discretion of HHF, force HHF franchisees to spend

approximately $10,000 – $30,000 per guest room, which amounts to millions of dollars in forced

renovation costs being foisted upon HHF franchisees.

       98.      HHF further does so under the threat of retaliation against its franchisees in the

event of noncompliance as determined subjectively by HHF in its sole discretion, which can result

in termination of their franchise or other punitive measures.

IHG/HHF’s Double-Dipping on Commissions & Introduction of Supposedly Voluntary
Programs under Pressure & Retaliation for Opt-Outs

       99.      HHF franchisees pay initial marketing contributions and annual marketing fees

which are represented as being applied to such things as marketing.

       100.     Not content with those fees, however, IHG/HHF routinely introduce “new

programs” requiring franchisees to pay additional fees, all of which go directly to said Defendants.

       101.     The fees set forth in the License Agreement are based on a fixed percentage of

Plaintiff’s and HHF franchisees’ revenue. (See License Agreement, §3(B)).

       102.     The License Agreement, however, also purports to give HHF the unfettered,

unilateral and unspecified right to impose additional fees, penalties, rules and regulations, namely

“all fees due for travel agent commission programs . . . .” (See id. §3(B)(1)(d)).

       103.     One such program for booking and commissions is known as the Global


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Distribution System (“GDS”). GDS is a worldwide conduit between travel bookers and suppliers,

such as hotels and other accommodation providers. It communicates live product, price and

availability data to travel agents and online booking engines, and allows for automated transactions.

       104.     The idea of GDS is for hotels to increase their reach to attract more customers,

increase revenue and ultimtately make additional profits. A GDS passes on hotel inventory and

rates to travel agents and travel sites that request it and also accepts reservations. Today, the

databases also include online travel agencies (“OTA”s) (such as Booking.com and Expedia).

       105.     IHG/HHF arbitrarily exercises this purported right to impose fees including, but

not limited to, travel agent commission fees, in bad faith. IHG/HHF does so in order to capture a

continually increasing share of Plaintiff’s and the HHF franchisees’ revenue. HHF franchisees are

charged multiple additional fees such as transaction fees, booking fees, GDS fees and excess and

additional commissions through marketing and other programs.

       106.     One example is IHG/HHF’s imposition of the BTI (Business Traveler

International) program, under which IHG/HHF double-dips on its commissions by imposing an

additional 2.5% commission on HHF franchisees over and above the aforesaid traditional GDS

bookings and commissions.

       107.     Another example is IHG/HHF’s “double-dip” on commissions for the aforesaid

third-party OTA bookings, from which IHG/HHF, upon information and belief, receive kickbacks

in sums unknown to HHF franchisees since IHG/HHF keep their contractual arrangements

confidential while charging the franchisees multiple fees for the same products or services that

HHF is already contractually obligated to perform.

       108.     IHG/HHF have also allowed OTAs to share and misappropriate discounted

booking codes with third party websites who impose substantial taxes, fees and costs on

unsuspecting customers and, despite knowing that such misconduct is ongoing, IHG/HHF have

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failed to enjoin such misconduct on the part of OTAs to IHG/HHF’s benefit and the substantial

detriment of franchisees.

       109.     IHG/HHF also sends sales leads to Plaintiff’s hotel and to HHF franchisees, the

origin of which is unknown to the franchisees, through its Meeting Broker program. These leads

have 3% commissions if they actualize and franchisees are billed based on revenue speculated by

IHG/HHF unless franchisees reports updated actual numbers.

       110.     Plaintiff and other franchisees will frequently turn away these leads due to the fact

that they have previously built their own relationships prior to the duplicate lead coming from

Meeting Broker.

       111.     Nonetheless, IHG/HHF uses this as a tactic to charge additional commissions and

to demand that the franchisees prove the prior relationship, in essence stealing sales leads and

revenues developed by Plaintiff and HHF franchisees.

       112.     IHG/HHF further abuses its discretion by requiring franchisees to provide bank

account information to the OTAs that IHG/HHF contracts with.                These OTAs will then

automatically debit the HHF franchisee accounts on a monthly basis for all reservations sent to the

hotel. The onus thus falls on Plaintiff and HHF franchisees to reconcile and to dispute commission

charges for no-shows, cancellations or invalid credit cards, without any support from IHG/HHF.

       113.     The result is that funds are taken from the franchisees without recourse, the OTAs

collect unearned commissions, IHG/HHF receive kickbacks and franchisees are damaged without

recourse nor any franchisor support.

       114.     IHG/HHF further abuses its position by introducing marketing programs and other

programs solely to its General Manager and Director of Sales, bypassing the HHF franchisees

entirely. These programs are represented as voluntary and consensual programs which Plaintiff

and HHF franchisees can, in theory, choose whether to participate or not.

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       115.     However, neither Plaintiff nor franchisees have any direct access to the program

information and can only gain access through IHG/HHF’s general manager or sales director,

depriving them of any real choice or opt-out alternative.

       116.     Additionally, such programs purportedly offered by IHG/HHF to franchisees as

optional truly are not since IHG/HHF accompanies the presented “option” with threats of

retaliation including, but not limited to, being told that franchisees’ hotels will be suppressed or

removed from search engine results.

       117.     Faced with threats of retaliatory action from Defendants that further undermine the

HHF franchisees profitability and/or economic viability, the representation that Plaintiff or HHF

franchisees have any true choice is truly illusory.

       118.     In short and in sum, IHG/HHF introduces new or “additional” programs solely as

a basis to create additional revenue streams and profit to the detriment and cost of the HHF

franchisees.

IHG Rewards Program; Points Plus Cash

       119.    Defendants introduced, maintain and run an IHG Rewards Club Program by which

guests can earn points by staying at hotels within IHG’s network, as well as by purchasing goods

and services with IHG partner vendors, including Groupon, Grubhub and OpenTable, provided

these services are purchased through an SCH channel.

       120.    Points can also be earned for activities booked on the SCH Trip Extras page. For

IHG Rewards Club Premier Credit Card holders or IHG Rewards Club Traveler Credit Card

holders, additional points can be earned at IHG/HHF properties worldwide and on purchases made.

       121.     Defendants’ actual management of this program, however, is yet another bad faith

means by which IHG and HHF profit off the backs of and to the detriment of their franchisees.

       122.     Participating members earn 10 reward points for every $1 spent. When those

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points are earned from staying in the hotel of Plaintiff or other HHF franchisees, that hotel serves

as the point of origination for the points. In effect, when a customer redeems points to earn free

hotel night(s), the Plaintiff or other HHF Franchisee Hotel does not receive payment.

       123.      If a franchisee hotel is at 96% occupancy, IHG/HHF reimburses the participating

franchisee hotel for the full room rate.

       124.      However, if a franchisee hotel is at less than 96% occupancy, IHG/HHF only

reimburses the participating Franchisee hotels $30 for the value of products or services that

redeemed points were applied to, retaining the remainder for themselves and leaving IHG/HHF

franchisees to earn only a small fraction of such things as nightly room rates to their economic

detriment.

       125.      IHG/HHF also has a Points Plus Cash Program which it has never disclosed in its

FDD or License Agreement.

       126.      If participating members do not have enough points to fully redeem a full night’s

stay at a hotel or they do not desire to pay local sales tax, they have the option to combine rewards

points with cash.

       127.      In this instance, the nightly hotel rate is lowered and all cash paid by the customer

is retained by IHG/HHF and none goes to the HHF franchisee hotel.

       128.      This violates the License Agreement which provides that direct revenue from hotel

guests goes to the HHF franchisee while IHG/HHF should only be entitled to collect fees from

franchisees as provided therein.

       129.      There is no transparency by IHG/HHF regarding the IHG Rewards Club Hotel

Rewards Program as franchisees have no access to financial information and data regarding all

awards, redemptions or amounts reimbursed to any Franchisee, or collected, retained or funneled

by or to IHG and/or HHF in conjunction with the IHG Rewards Club Hotel Rewards Program.

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HHF’s Fraudulent & Inconsistent Representations Regarding the Nature of its Relationship
with Approved Suppliers

        130.     Under the License Agreement, HHF requires that franchisees purchase some or all

of the products and services necessary (“Mandatory Products and Services”) to operate a hotel

from vendors and suppliers of its own choosing (the “Approved Suppliers”).

        131.     HHF represents to franchisees that it will limit the number of Approved Suppliers

for given products and services for the purposes of obtaining a group or volume discount and

ensuring uniform quality and supply of those Mandatory Products and Services.

        132.     However, upon information and belief, limiting the number of Approved Suppliers

has very little to do with obtaining greater discounts or improving brand quality.

        133.     Rather, upon information and belief, HHF limits the number of Approved

Suppliers as part of a scheme to reduce competition within the HHF Franchise System, which in

turn, allows HHF to extract larger kickbacks from vendors.

        134.     HHF does not disclose to franchisees when it receives a kickback (or “rebate”), or

the amount of any such “rebate.”

        135.     The intended purpose and effect of HHF’s kickback scheme is that Approved

Suppliers charge above-market rates for their goods and services.

        136.     HHF does not help franchisees save time and money on their purchasing needs.

        137.     Upon information and belief, HHF does not obtain group or volume discounts on

behalf of its franchisees.

        138.     Moreover, HHF does not ensure adequate brand quality and supply; rather, HHF at

times forces franchisees to purchase, often at inflated prices, inferior Mandatory Products and

Services.

        139.     HHF is not attempting to promote brand quality, but is constantly auctioning off

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the right to sell Mandatory Products and Services to franchisees to the highest bidding vendors.

          140.   Upon information and belief, HHF is leveraging its Franchise System to secure

massive “rebates” from vendors.

          141.   Upon information and belief, to be approved as an Approved Supplier and to gain

access to HHF’s franchisees, HHF requires a quid pro quo in the form of kickbacks.

          142.   The kickbacks include both fixed fees paid by Approved Suppliers to HHF, and

transactional fees based on a percentage of Approved Suppliers’ total sales to franchisees and their

guests.

          143.   The transactional fees are inextricably tied to the cost of the goods and services,

meaning that as HHF’s revenue from transactional fees increases as the cost of goods and services

increases.

          144.   HHF therefore has an inherent conflict of interest that it never discloses to

franchisees.

          145.   Upon information and belief, HHF’s conflict of interest has led to abuse.

          146.   Upon information and belief, HHF has placed its interests and financial gain, as

well as the interests of Approved Suppliers over those of its franchisees.

          147.   Upon information and belief, HHF has conspired with manufacturers and

distributors to increase cost of goods and services that are sold to its franchisees.

          148.   Upon information and belief, HHF colludes with manufacturers and/or distributors

to increase the wholesale price of products, which in turn, increases the retail prices Approved

Suppliers must sell to franchisees.

          149.   Upon information and belief, HHF effectively fixes the retail pricing of goods and

services sold to franchisees.
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       150.     Upon information and belief, HHF knows that Approved Suppliers cannot sell

goods and services to its franchisees at competitive prices.

       151.     Upon information and belief, HHF knows that Approved Suppliers must increase

the cost of goods and services to account for the increased wholesale costs and well as the fixed

and transactional fees that must be paid to HHF.

       152.     Upon information and belief, HHF knows that Approved Suppliers will pass these

costs onto franchisees.

       153.     Upon information and belief, franchisees ultimately are the ones harmed by HHF’s

price fixing and kickback scheme.

       154.     While HHF purports to give franchisees the right to, at HHF’s discretion, purchase

Mandatory Products and Services from vendors other than the Approved Suppliers, in practice

HHF rarely, if ever, grants franchisees permission to do so.

       155.     Essentially, HHF offers it franchisees no meaningful choice in vendors.

       156.     HHF misrepresents to franchisees and/or conceals the nature of its relationship

with Approved Suppliers, in order to lock them into the onerous License Agreements and to create

excessive switching costs.

HHF’s Imposition of Marketing Fees While Engaging in No Marketing

       157.    The License Agreement requires franchisees to pay HHF various fees, for which

HHF promises to provide certain services in return. Among these required fees are marketing fees.

(See License Agreement, §3(B)(1)(b), (d)).

       158.    The License Agreement provides that HHF franchisees shall make monthly fee

payments to HHF for:



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                (b)      a “Services Contribution” equal to the percentage of Gross
                Rooms Revenue set forth in paragraph 15 below, to be used by
                Licensor for marketing, reservations, and other related activities
                which, in Licesnor’s sole business judgment as to the long-term
                interests of the System, support marketing, reservations and other
                related functions.
                …
                Licensor may, in its sole judgment, upon 30 days’ prior notice,
                increase this Contribution by an amount not to exceed 1% of Gross
                Rooms Revenue and such increase shall be effective for a period
                no longer than 12 months …
                (d)      all fees … due in connection with mandatory marketing …
                and other systems and programs established by the Licensor, its
                parents, subsidiaries or its affiliated entities relating to the System.
Id., §3(B)(1)(b), (d).

        159.    The percentage of Gross Rooms Revenue that Plaintiff pays to HHF as the Services

Contribution referenced in Section 3 of the License Agreement is 3%. (See id., §15(a)(2)).

        160.    Following the imposition of Covid-19 restrictions in or about March 2020, HHF

ceased all marketing efforts and activities which the franchisees’ “Services Contribution” is

contractually represented as being paid to support, and said HHF marketing is the explicit benefit

of the bargain which franchisees are entitled to receive in exchange for their payment to HHF.

        161.    HHF has continuously required, demanded payment of and collected marketing fees

from its franchisees despite providing no marketing services or programs for nearly a year.

IHG Owners Association: IHG/HHF Collusion with the IHGOA & its Illusory Provision of
Franchisee Participation

        162.    The License Agreement provides for franchisee membership in the IHGOA, and

states in relevant part that:



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                The purposes of the IHG Owners Association will be to consider
                and discuss, and make recommendations on common problems
                relating to the operation of System Hotels. Licensor will seek the
                advice and counsel of the IHG Owners Association’s Board of
                Directors or, subject to the approval of Licensor, such committees,
                directors or officers of the IHG Owners Association to which or to
                whom the IHG Owners Association Board of Directors may
                delegate such responsibilities.
(License Agreement, §6(A)).

        163.    The License Agreement provides further that HHF “recogniz[es] that the IHG

Owners Association must function in a manner consistent with the best interests of all persons

using the System . . . .” (Id., §6(B)).

        164.    HHF represents to Plaintiff and HHF franchisees that it makes a good faith effort to

protect the best interests of HHF franchisees.

        165.    Despite these representations, however, the IHGOA board members are essentially

handpicked by IHG/HHF, and receive incentives in exchange for their loyalty to IHG/HHF’s

agenda and interests.

        166.    Overwhelmingly, the IHGOA board members and members are not franchisee hotel

owners, but rather employees of the management companies that operate IHG/HHF properties.

They have no stake in, and do not share the interests, objectives, or concerns of the HHF

franchisees they purport to represent.

        167.    While IHGOA’s board members are nominally elected by all franchise owners, it is

essentially impossible for dissenting voices to gain seats on the board.

        168.    IHG/HHF controls the nominating process through the imposition of onerous and

vague requirements for candidacy, which ensures that IHG/HHF can carefully select candidates

and thus the elections to the IHGOA are noncompetitive.

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        169.    The collusion between the IHGOA and IHG/HHF is a transparent attempt to create

the appearance of legitimacy to IHG/HHF’s exploitative practices.

        170.    IHG/HHF scoffs at the stated purposes and functions of the Owners Association as

set forth in the License Agreement, affording Plaintiff and its franchisees only the illusory role of

having a voice in the System, or discussing any operational recommendations for common

problems at the hotels, with IHG/HHF instead acting in complete disregard for “the best intertests

of all persons using the System.”

        171.    In short, IHG/HHF pursues only its own self interest to the detriment of its

franchisees.

        172.    The “committees, directors or officers of the IHG Owners Association” rarely

include franchisees, but instead are populated by IHG and/or HHF employees to collude with said

Defendants, utterly disregard genuine franchisee complaints, and to instead implement, avoid

accountability for, and rubber stamp all matters decided unilaterally by and for these Defendants

for the sole purpose of enriching themselves and requiring payments from franchisees.

IHG’s Racial Discrimination Against Indian-American & South Asian-American Franchisees

        173.    In its relations with its franchises, IHG/HHF is hostile to and routinely

discriminates in favor of white, black and Latino franchisees and against Indian-American and

South Asian-American franchisees, by offering preferential treatment to the former, and engaging

in derogatory and demeaning rhetoric and behavior and more strictly enforcing rules and

regulations against the latter.

        174.    IHG/HHF applies PIP enforcement, inspections and fines unequally, with unduly

harsh and unequal application against its franchisees of Indian-American and South Asian-

American descent.

        175.    IHG/HHF applies its discretionary brand “standards” unequally, with unduly harsh

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and unequal application against its franchisees of Indian-American and South Asian-American

descent.

       176.    IHG/HHF applies its discretionary brand “standards” unequally, with online

manipulation of guest scores, reviews and ratings against its franchisees of Indian-American and

South Asian-American descent.

       177.    IHG/HHF terminates franchises more frequently and arbitrarily against its

franchisees of Indian-American and South Asian-American descent, and similarly denies the

granting and transfer of franchises to Indian-Americans and South Asian-Americans.

       178.    IHG/HHF executives routinely make racially derogatory comments to and about

Plaintiff and their Indian-American and South Asian-American franchisees.

                               CLASS ACTION ALLEGATIONS

       179.    Pursuant to Federal Rules of Civil Procedure 23(a) and (b), Plaintiff bring this

action on behalf of itself and the Class (“Class”) of similarly situated persons defined as:

               All United States residents (including persons and business
               entities) that operate or have operated a Holiday Hospitality
               Franchising LLC hotel in the State of Texas pursuant to a License
               Agreement from January 1, 2014 through the date of Class
               Certification. Excluded from the Class are the officers, directors
               and employees of Defendants and their respective legal
               representatives, heirs, successors and assigns.
Rule 23(a) Requirements

       180.    Numerosity: Members of the Class are so numerous that their individual joinder is

impractical. The precise identities, number and addresses of members of the Class are presently

unknown to Plaintiffs, but may and should be known with proper and full discovery of Defendants,

third-parties and all relevant records and documents.


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       181.     Upon information and belief, the Class has more than 40 members.

       182.     All members of the Class assert claims for violation of the law as set forth herein.

       183.     Existence of Common Questions of Fact and Law: There is a well-defined

commonality and community of interest in the questions of fact and law affecting the members of

the Class. Among other things, the common questions of fact and law include:

       (a)       Whether and to what extent Defendants’ practices, conduct and
                 misrepresentations violate the covenant of good faith and fair
                 dealing;

       (b)       Whether and to what extent Defendants’ practices, conduct and
                 misrepresentations violate federal or state law;

       (c)       Whether HHF breached terms of the License Agreements;

       (d)       Whether and to what extent Defendants maintained a closed
                 market vendor marketplace in order to derive illicit profits;

       (e)       Whether the Class sustained injury as a result of HHF’s breaches
                 of the License Agreement;

       (f)       Whether any of the provisions of the subject HHF License
                 Agreements are void and/or unenforceable;

       (g)       Whether Plaintiff and Class members are entitled to recover
                 compensatory, consequential, exemplary, treble, statutory or
                 punitive damages based on Defendants’ fraudulent, illegal,
                 anticompetitive conduct or practices and/or otherwise;

       (h)       Whether temporary and permanent injunctive relief is appropriate
                 for all class members and

       (i)       Whether Plaintiff and Class members are entitled to an award of
                 reasonable attorneys’ fees, prejudgment interest, and costs of suit.

       184.     Typicality: Plaintiff is a members of the Class. Plaintiff’s claims have a common

origin and share common bases with the Class members. They originate from the same illegal,

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fraudulent and confiscatory practices of Defendants, and Defendants have acted in the same way

toward Plaintiff and all other Class members. If brought and prosecuted individually, the claims of

each Class member would necessarily require proof of the same material and substantive facts, rely

upon the same remedial theories and seek the same relief.

       185.    Adequacy: Plaintiff is an adequate representative of the Class because its interests

do not conflict with the interests of the members of the Class they seek to represent. Plaintiff has

retained competent counsel, and intends to prosecute this action vigorously. Plaintiff’s counsel

will fairly and adequately protect the interests of the members of the Class.




Rule 23(b)(2) & (3) Requirements

       186.    This lawsuit may be maintained as a class action pursuant to Federal Rule of Civil

Procedure 23(b)(2) because Plaintiff and the Class seek declaratory and injunctive relief, and all of

the above requirements of numerosity, common questions of fact and law, typicality and adequacy

are satisfied. Moreover, Defendants have acted on grounds generally applicable to Plaintiffs and

the Class as a whole, thereby making declaratory and/or injunctive relief proper and suitable

remedies.

       187.    This lawsuit may also be maintained as a class action under Federal Rule of Civil

Procedure 23(b)(3) because questions of fact and law common to the Class predominate over the

questions affecting only individual members of the Class, and a class action is superior to other

available means for the fair and efficient adjudication of this dispute. The damages suffered by

each individual class member may be disproportionate to the burden and expense of individual

prosecution of complex and extensive litigation to proscribe Defendants’ conduct and practices.

       188.    Additionally, effective redress for each and every class member against Defendants

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may be limited or even impossible where serial, duplicate or concurrent litigation occurs arising

from these disputes. Even if individual class members could afford or justify the prosecution of

their separate claims, such an approach would compound judicial inefficiencies, and could lead to

incongruous and conflicting judgments against Defendants.

                                               COUNT I
                                         Breach of Contract
                                     (Against HHF, SCH & IHG)

       189.      Plaintiff incorporates by reference all of the foregoing allegations as if set forth at

length herein.

       190.      At all times relevant to this litigation, Defendant HHF possessed individual

contractual relationships with each Franchisee through the License Agreements.

       191.      By virtue of their ownership of HHF and control over the IHG Marketplace, IHG

and SCH are intended third-party beneficiaries of the License Agreements.

       192.      HHF breached its obligations under the License Agreement by, inter alia:

                 (a)    Without any limitation or stated parameters, to generally
                        and arbitrarily alter, modify, or revise its “Standards” or
                        “System”, in its sole judgment, as a bad faith means to
                        impose undisclosed costs and obligations on franchisees
                        without any Franchisee input, agreement, or recourse;
                 (b)    Using its PIP program as a means to apply unfettered and
                        open-ended discretion extract otherwise undisclosed fees
                        and fees not contracted for from franchisees, by mandating
                        exorbitant construction and renovation mandates and costs
                        upon franchisees;
                 (c)    As part of the PIP program, forcing franchisees to pay non-
                        refundable fees for mandatory Hotel inspections and
                        preparation of PIP report(s), without any Franchisee
                        consent or agreement, and charging additional undisclosed

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         fees for re-inspections and re-evaluations solely as HHF
         deems necessary and mandates, and to arbitrarily require
         such re-inspections and also impose fines solely as a means
         of enriching HHF;
   (d)   Forcing franchisees to utilize only HHF’s Approved
         Suppliers for the goods and services necessary to run the
         Hotel(s) because such vendors and suppliers provide HHF
         with rebates and kickbacks;
   (e)   Falsely representing that the Approved Suppliers in HHF’s
         procurement programs, including but not limited to the
         “IHG Marketplace” allow for Franchisee choice, and
         deliver value and lower cost purchasing opportunities to
         franchisees when, in fact, franchisees are involuntarily
         forced to use these Approved Suppliers, charging
         franchisees above-market rates, rates which are higher than
         the same Approved Suppliers charge hotel operators not
         within the HHF System, and often the Mandatory Products
         and Services forced upon franchisees are of inferior quality;
   (f)   HHF represents to franchisees that its limited number of
         Approved Suppliers is for the purpose of obtaining group
         or volume discounts, or to ensure uniform quality and
         supply, when it is instead engaged in a scheme to reduce
         competition within the HHF Franchise System and extract
         larger kickbacks from these vendors. HHF does not obtain
         group or volume discounts on behalf of its franchisees;
   (g)   HHF leverages its Franchise System as a means to secure
         massive fees from vendors, granting approval to Approved
         Suppliers who gain access to HHF’s franchisees as a quid
         pro quo for kickbacks in the form of both fixed fees and
         percentage-based transactional fees, enriching HHF from
         increased costs borne by franchisees for the Mandatory
         Products and Services.         HHF never discloses to its
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         franchisees this inherent and abusive conflict of interest
         from its collusion with manufacturers and/or distributors to
         increase its own revenue on the backs of its franchisees;
   (h)   Despite the fact that franchisees pay initial and annual fees
         associated with marketing, HHF introduces additional
         undisclosed marketing (and other) programs and fees as a
         means to generate additional revenue for itself to the
         detriment of franchisees, and without any prior disclosure
         to or agreement of HHF franchisees;
   (i)   HHF ceased and suspended all of its marketing efforts and
         activities during the time of the Covid pandemic, yet
         continues to charge fracnhisees for the services HHF is not
         providing;
   (j)   Use the threat and imposition of retaliation and retribution
         against franchisees who in any way dispute or raise
         questions about HHF’s introduction of programs, fees, or
         expenses forced on franchisees without any prior disclosure
         or agreement, or against franchisees who, when presented
         with HHF programs falsely represented as optional, opt out
         of same;
   (k)   Using its customer rewards program as a means to allow
         customers to redeem points earned at point-of-origin
         franchisee hotels for free hotel stays, depriving the
         franchisees of this direct revenue, but then reimbursing
         franchisees only a small percentage of the redeemed points
         (usually less than 30%) and retaining the remainder for
         itself and
   (l)   Maintaining an IHG Owners Association, represented as a
         means for franchisees to consider and discuss, and make
         recommendations on common problems relating to the
         operation of System Hotels which HHF will seek the
         advice of and to promote the best interests of all persons
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                        using the System but, in reality, this representation is false
                        and illusory.     Franchisees are afforded no voice, their
                        recommendations are summarily disregarded, and the
                        Owners Association if populated almost entirely by IHG
                        employees to serve the purpose of enriching IHG, HHF,
                        and SCH, avoiding accountability, and imposing additional
                        financial hardship on franchisees.
       193.      Due to HHF’s, IHG’s and SCH’s ongoing breach of the License Agreements,

franchisees have suffered monetary damages.

                                              COUNT II
                                        Breach of Fiduciary Duty
                                           (Against IHGOA)

       194.      Plaintiff incorporates by reference all the foregoing allegations as if set forth at

length herein.

       195.      Although franchisees are not required to be members of the IHGOA, and may

voluntarily opt-in or opt-out, franchisees who opt-in become IHGOA members and are required to

pay membership dues annually Irrespective of franchisee opt-ins (or opt-outs), however, the

IHGOA holds itself out as, is required to, and purports to act and negotiate on behalf of all

franchisees as the ostensible “voice of the owners”.

       196.      IHGOA assumed a fiduciary duty to represent the interests of its member

Franchisees in negotiations with HHF, because:

                       a. IHGOA represents in its mission statement to the
                          Franchisees that its purposes is to “advocate responsibly
                          for the greater good of the membership”,
                       b. IHGOA represents that it “instill[s] trust with open and
                          honest communications”,
                       c. IHGPA promotes that its “core values guide our
                          everyday actions as we seek to fulfill our mission of

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                         helping members maximize their investment in IHG
                         hotel brands”,
                     d. In cooperation with HHF, the IHGOA acceptsannual fees
                         from Franchisees who opt-in, and does so with the
                         implied and/or explicit representation that these fees are
                         in exchange for IHGOA’s faithful representation of the
                         interests of all Franchisees, including those who do not
                         opt-in as IHGOA members.
       197.    IHGOA routinely violates its duty of loyalty to Franchisees, in that its board

members accept preferential treatment and other benefits from HHF in exchange for their

compliance with and approval of onerous measures proposed by HHF, including but not limited to

the imposition of new or increased fees on Franchisees, the imposition of new requirements and

penalties through modification of the System, and the entry into new agreements with Approved

Suppliers for Mandatory Products and Services that inure to the benefit of HHF while imposing

onerous costs on Franchisees.

       198.    Upon information and belief, the kickbacks received by IHGOA board members

include, but are not limited to, algorithmic preferences in HHF’s reservation system, such that their

franchised properties appear higher in guests’ hotel search results than the properties of other

franchisees.

       199.    The IHGOA board is utterly unresponsive to Franchisee’s concerns with relation to

franchising.

       200.    Franchisees have suffered damages due to IHGOA’s failure to loyally represent

them in an amount to be determined at trial.

       201.    IHGOA’s actions and omissions were willful, outrageous, oppressive, and wanton.

                                            COUNT III
                                      Declaratory Judgment
                                         (Against HHF)
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       202.      Plaintiff incorporates by reference all the foregoing allegations as if set forth at

length herein.

       203.      As a condition of receiving the benefits of operating a HHF franchise, HHF uses its

vastly superior bargaining power to require all franchisees to accept the grossly unequal terms of

the Agreements, which, as to many key provisions, is essentially a “take it or leave it” contract of

adhesion.

       204.      The following provisions of the License Agreement (hereafter “the Unconscionable

Provisions”) together and/or individually are substantively unconscionable:

                 (a)    HHF’s open-ended right to impose mandates, fees and
                        costs on franchisees by adding, modifying, altering or
                        deleting elements of its System or its Standards in its sole
                        judgment and discretion, which extends to (but is not
                        limited   to):   marketing     programs    and    materials;
                        specifications and policies for construction; programs for
                        inspecting the Hotel; and vague, arbitrary and amorphous
                        “other requirements as stated or referred to in this License
                        and from time to time in Licensor’s brand standards for
                        System Hotels” (defined as the “Standards”). (Agreement,
                        §1);
                 (b)    HHF’s open-ended imposition upon Plaintiff as one of its
                        responsibilities to “strictly comply in all respects with the
                        Standards (as they may from time to time be modified or
                        revised by [HHF]” which does no less than attempt to allow
                        HHF to impose upon Plaintiff and demand compliance with
                        whatever it deems beyond any explicit contractual
                        agreement. (Agreement, §3(A)(5));
                 (c)    HHF’s mandate that Plaintiff strictly comply with its
                        “standards and specifications for goods and services used in

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         the operation of the Hotel and other reasonable
         requirements to protect the System and the Hotel from
         unreliable sources of supply”, and with all HHF’s
         requirements for services and products used in Hotels,
         which serves as a pretext for HHF’s collusion and kickback
         scheme with vendors and suppliers.              (Agreement,
         §3(A)(7));
   (d)   HHF’s unlimited ability to maintain and alter its
         “Standards” imposed upon and required of franchisees with
         “wide latitude”, and to modify or revise same at any time in
         its sole discretion and without Franchisee knowledge or
         agreement. (Agreement, §4(D)-(E));
   (e)   HHF’s illusory provision of a means by which franchisees
         can approve its changes in the Standards only through
         HHF’s Franchise Committee, and by purporting to afford
         Plaintiff a means to appeal such changes while at the same
         time severely restricting Plaintiff’s appeal rights which
         cannot be “arbitrary, capricious or unreasonable” or not
         “for the purpose for which intended” vis-à-vis not only
         HHF changes in standards but also as to any other rights
         explicitly afforded by the agreement. (Agreement, §5(A)-
         (D));
   (f)   HHF’s right to termination of the agreement for any
         violation thereof, when HHF has given itself the right to
         extra-contractually alter, modify, or revise Plaintiff’s
         obligations at any time and for any reason it may deem.
         (Agreement, §§1(B), 12(B)-(C));
   (g)   HHF’s right to termination if Plaintiff “refuses to cooperate
         with” inspections or audits when, in fact, HHF charges
         Plaintiff for all inspections and can impose them for any
         reason at any time as a means to impose costs and fines on
         Plaintiff and merely as a tool to enrich itself. (Agreement
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                       §12(C)(13));
               (h)     A provision providing for liquidated damages against
                       franchisees in the event of Franchisee’s early termination of
                       the Agreement, or HHF’s termination of the Agreement
                       due to Franchisee’s alleged breach, but not providing for
                       liquidated damages against HHF under any circumstances
                       (Agreement §12(E));
               (i)     Provisions prohibiting Franchisee’s rights to pursue claims
                       and damages against HHF for HHF’s breaches of the
                       parties’ agreement (Agreement §§14(B)(3), 14(E), 14(H));
               (j)     A requirement that franchisees broadly reimburse HHF, its
                       affiliates, subsidiaries, officers, directors, agents, partners,
                       and employees, for any litigation regardless of which party
                       initiates same. (Agreement §§14(J)); and,
               (k)     A provision requiring affirmative advisement of any trier of
                       fact that HHF has rights to make changes to the parties’
                       agreement “in the exercise of business judgment” and in
                       every such instance those rights which are not explicitly
                       contracted for are “adopted in good faith and is consistent
                       with the long-term overall interests of the System”, and
                       further prohibits any and all judges, mediators, and/or triers
                       of fact from applying their own judgment as opposed to
                       HHF’s. (Agreement, §14(N)).
       205.    The License Agreements are procedurally unconscionable because, at the inception

of the Agreements, HHF used its vastly superior bargaining position to require franchisees to

accept the grossly unequal Unconscionable Terms outlined above.

       206.    Specifically, as to the Unconscionable Terms, the License Agreements are contracts

of adhesion offered on a “take it or leave it” basis.

       207.    The Unconscionable Terms are not subject to negotiation.

       208.    HHF drafts the Agreements in their entirety.
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       209.      An actual, present, and justiciable controversy exists between Plaintiff and HHF

regarding the enforceability of the Unconscionable Provisions.

       210.      Pursuant to the Uniform Declaratory Judgment Act, 28 U.S.C. § 2201, Plaintiff

seeks declaratory judgment from this Court that the Unconscionable Provisions listed above are

unconscionable, illusory and/or unenforceable.

                                              COUNT IV
                            Violation of the Sherman Act, 15 U.S.C. § 1
                                           (Against HHF)

       211.      Plaintiff incorporates by reference all of the foregoing allegations as if set forth at

length herein.

       212.      There exists markets for ownership interests in hospitality franchises, in which HHF

maintains substantial market power.

       213.      A separate market exists for the related goods and services associated with the

operations of hospitality franchises, including but not limited to services, software, physical

furnishings, financial services, and food products (the “Mandatory Products and Services”).

       214.      HHF requires that franchisees purchase some or all of the Mandatory Products and

Services from vendors of its own choosing (the “Approved Suppliers”).

       215.      In order to obtain HHF’s approval to sell Mandatory Products and Services to

franchisees, HHF requires Approved Suppliers to pay substantial kickbacks to HHF, which it

refers to euphemistically as “rebates.”

       216.      Although HHF represents to franchisees that, in limiting the number of Approved

Suppliers from which franchisees may purchase Mandatory Products and Services, it seeks only to

obtain group discounts for Franchises and/or ensure consistent quality and adequate supplies for

the franchise brand, in reality HHF chooses Approved Suppliers exclusively or primarily based

upon how large a kickback those Approved Suppliers are willing to pay HHF.
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       217.    In actuality, the Mandatory Products and Services purchased from Approved

Suppliers are often of inferior quality, and sold at above-market prices, relative to similar products

sold by other vendors.

       218.    While HHF does purport to give franchisees the right to, at HHF’s discretion,

purchase Mandatory Products and Services from vendors other than the Approved Suppliers, in

practice HHF rarely, if ever, grants franchisees permission to do so.

       219.    At the time they entered into the Agreements, HHF concealed the nature of its

relationship with Approved Supplier from franchisees, in order to lock them into the onerous

Agreements and create excessive switching costs.

       220.    HHF also creates excessive switching costs through imposing onerous termination

terms on franchisees, such that upon termination or expiration of the Agreement, they may be

liable to pay (1) liquidated damages and (2) all outstanding fees and penalties in full, which, by

virtue of HHF’s right under the Agreements to unilaterally impose additional fees and penalties,

may be sufficient to prevent franchisees from exercising their termination rights, locking them into

the franchise system.

       221.    At all times relevant HHF had monopoly power, market power, and/or economic

power in the relevant Hospitality Franchise market, sufficient to force franchisees to purchase and

accept Mandatory Products and Services from Approved Suppliers.

       222.    By reason of the terms of the Agreements and the investments franchisees have

made in their franchises, coupled with the difficulties franchisees face in leaving the franchise

system, HHF has substantial power in the market for both Hospitality Franchises and the market

for Mandatory Products and Services.

       223.    HHF manipulated its economic power in the Hospitality Franchise market to coerce

franchisees to purchase Mandatory Products and Services solely from Approved Suppliers,

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through contractual provisions contained in the Agreements, as well as exploitation of pre-

contractual information deficiencies and post-contractual switching costs. Through these and other

means, HHF can and does coerce franchisees to purchase nearly of the Mandatory Products and

Services from Approved Suppliers.

       224.   Through the exercise of HHF’s economic power as alleged herein, HHF has

conditioned the purchase by franchisees of their franchises and their continued existence as

franchises upon the purchase of Mandatory Products and Services from Approved Suppliers.

       225.   As a direct and proximate result of HHF’s anti-competitive tying activity,

franchisees have been injured by being forced to pay above-market rates for inferior Mandatory

Products and Services.

       226.   A substantial amount of interstate commerce in Mandatory Products and Services

has been adversely affected by HHF’s actions. These actions impose an unreasonably negative

effect on competition in the marketplace, because HHF’s policy of coercing and condition the

purchase and operation of a franchise and on purchase by franchisees of Mandatory Products and

Services from Approved Suppliers forecloses the ability of vendors unwilling to pay kickbacks to

HHF from selling their Mandatory Products and Services to franchisees, even though the quality of

such Mandatory Products and Services is equal to if not better than the quality of what is supplied

by Approved Suppliers.

       227.   HHF’s tie of purchases of its franchises to purchase of Mandatory Products and

Services from Approved Suppliers imposes an unreasonable restraint upon commerce and is

therefore per se unlawful in violation of Section One of the Sherman Act, 15 U.S.C. § 1, and has

caused damage to franchisees.

       228.   Alternatively, if HHF’s tying conduct is not per se unlawful, it is unlawful under

the rule of reason, in that the anti-competitive consequences of HHF’s conduct outweigh any pro-
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competitive effects thereof. Not only does HHF’s conduct impose supra-competitive prices on

franchisees, it impedes the ability of other vendors to engage in competition with Approved

Suppliers to provide high quality Mandatory Products and Services at lower costs. Moreover,

consumers are injured in that they are forced to indirectly pay the kickbacks and excessive prices

for products charged to franchises by Approved Suppliers. There is no pro-business or efficiency

justification for the kickbacks and supra-competitive pricing, nor does any legitimate business

purpose require these practices.

                                              COUNT V
                                             Accounting
                                      (Against HHF & IHGOA)

          229.   Plaintiff incorporates by reference the foregoing allegations as if set forth at length

herein.

          230.   HHF owed franchisees express contractual duties not to charge fees which were not

contractually proscribed but nevertheless charges direct and indirect fees to Plaintiff which were

not authorized by the Agreements.

          231.   Defendant IHGOA owed Franchisees express and common law fiduciary duties of

care, obedience, information and loyalty as a result of its special position of trust and confidence,

including as agent of Franchisees, to act in the best interests of Franchisees.

          232.   HHFs owes a duty to account for monies, including, but not limited to:

                 (a)    An accounting of the rebates it has taken from Approved
                        Suppliers;
                 (b)    An accounting of all charges associated with the PIP
                        program and all fees charged for Hotel inspections, re-
                        inspections, evaluations, preparation of PIP reports, and
                        any and all fines;
                 (c)    An accounting of all awards, redemptions, amounts

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                    reimbursed to any Franchisee, to HHF, SCH, and IHG
                    associated with the IHG Rewards Club Hotel Rewards
                    Program;
            (d)     An accounting of any and all IHG Marketplace programs;
            (e)     An accounting of the Secure Payment Solution credit card
                    processing system;
            (f)     An accounting of all internet services and the SCH Merlin
                    communication service;
            (g)     An accounting of HHF’s Keycard System;
            (h)     An accounting of all in-room entertainment, SCH Studio,
                    Employee Safety Devices, reservation and all other
                    equipment, software, and services for property-level
                    technology and telecommunications;
            (i)     An accounting of the gift card program;
            (j)     An accounting of all mandated food and beverage
                    programs;
            (k)     An accounting of all furniture, furnishings, linens, food
                    products, utensils, and goods for guests; and,
            (l)     An accounting of its use of all other fees and penalties
                    imposed upon franchisees.
       233. IHGOA owes a duty to account for monies, specifically its use of the association

fee provided by Franchisees who have opted-in.

       234. Upon information and belief, a request for such an accounting from HHF or

IHGOA would be futile.

       235. Franchisees are unable to determine the amounts due to them without an

accounting and there is no adequate remedy at law without such an accounting, or such legal

remedies would be difficult, inadequate, or incomplete.

                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiff PH LODGING TOMBALL, LLC respectfully requests that this
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Honorable Court:

       A.      Enter an order against HHF, IHG and SCH in favor of Plaintiff and
               the Class Members for consequential and/or compensatory
               damages in an amount to be proven at trial, and specific
               performance of the License Agreements;

       B.      Enter an order against HHF in favor of Plaintiff and the Class
               Members for actual damages and treble damages, and reasonable
               attorney’s fees arising out of HHF’s violations of the Sherman Act;

       C.      Enter a permanent injunction prohibiting HHF’s unlawful tying
               conduct;

       D.      Enter a judgment against IHGOA in favor of Plaintiff and the
               Class Members for compensatory and punitive damages;

       E.      Declare that the Unconscionable Provisions of the Agreements,
               specified above, are unconscionable illusory and/or unenforceable
               against Plaintiffs;

       F.      Enter an order against HHF in favor of Plaintiff and the Class
               Members entitling them to an accounting of all fees paid by them
               to SCH and HHF, and all rebate payments made to HHF, IHG and
               SCH by Approved Suppliers and

       G.      Award such other relief as this Court deems necessary and
               appropriate.

                                         JURY DEMAND

                 Plaintiff demands a trial by jury on all issues properly so triable.

Dated: June 3, 2021

                                                       Respectfully submitted,
                                                       /s/ Cory S. Fein

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